Case 2:10-cv-03187-JD Document 1 Filed 06/30/10 Page 1 of 10

bo AW IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

FAINA MUNITS
225 Hamilton Street
Chalfont, PA 18914-2965,

oy boa.
Plaintiff, 10 he
vs. CIVIL ACTION NO.

ALLIANCEONE RECEIVABLES
MANAGEMENT, INC,

6565 Kimball Drive, Suite 200
Gig Harbor, WA 98335,

 

Defendant.
COMPLAINT

1. INTRODUCTION

1. ‘This is an action for damages brought by a consumer pursuant to the Fair Debt
Callection Practices Act, 15 U.S.C. §1692 (FDCPA”’).

2. The FDCPA prohibits collectors from engaging in deceptive and unfair practices
in the collection of consumer debt.

3. Defendant is subject to strict liability for sending a collection letter which violates
the provisions of the FDCPA.
IL. JURISDICTION

4. Jurisdiction arises under 15 U.S.C. §1692k and 28 U.S.C. §1337.
I. PARTIES

5. Plaintiff Faina Munits (“Plaintiff”) is a consumer who resides in Chalfont,

Pennsylvania at the address captioned.
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6. Defendant AllianceOne Receivables Management, Inc. (“AllianceQne”) is
believed to be a Washington corporation with a place of business in Gig Harbor, Washington and
a mailing address as captioned.

7. AllianceOne regularly engages in the collection of consumer debts in the Eastern
District of Pennsylvania using the mails and telephone.

8. AllianceOne regularly attempts to collect consumer debts alleged to be due
another.

9. AllianceOne ts a “debt collector” as that term is contemplated in the FDCPA, 15
U.S.C. §1692a(6).

IV. STATEMENT OF CLAIM

10. On March 18, 2010, AllianceOne sent Plaintiff a collection notice seeking to
collect a consumer decht alleged due. A copy of the March 18, 2010 collection notice is attached
hereto as Exhibit “A”, redacted for privacy per Fed. R. Civ. Pro. 5.2.

11. The March 18, 2060 letter states in part:

Our investivator will be handed your file on 03-25-10.
The asset investigation is to determine your employment,
means of support, and other assets. Ignoring our request
for payment indicates that we must cnforce collection.

12. The FDCPA prohibits debt collectors using any falsc, deceptive, or misleading
representation of means in conncction with the collection of any debt. 15 U.S.C. §1692e;
§1692e(1 0).

13. The FDCPA also prohibits the threat to take any action that is not intended to be

taken. §1692e(5).
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14. Defendant AllianceOne’s March 18, 2010 collection letter purporting to assign an
“investigator” to conduct an investigation into Plaintiff's “employment, means of support, and
other assets” was false, deceptive, and misleading, in violation of the FDCPA.

15. Defendant AllianceOne would not and did not assign an investigator to
investigate Plaintiff's employment, means of support and other assets.

16. AllianceOne’s threat to conduct an asset investigation was designed to deceive
and intimidate Plaintiff into paying on the alleged account for fear of having some type of
overreaching investigation conducted into her personal affairs.

COUNT I- FAIR DEBT COLLECTION PRACTICES ACT

17, Plaintiff repeats the allegations contained above as if the samc were here set forth
at Jength.

18. Defendant has violated the Fair Debt Collection Practices Act by sending a false,
deceptive and mislcuding communication in violation of 15 U.S.C, §1092e, 91692e{) and
$16920( 10).

WHEREFORE, Plaintiff Faina Munits demands judgment against Defendant
AllianceOne Receivables Management, Inc. for:

(a) Damages;
(b) Attorney’s fees and costs;

(c) Such other and further relief as the Court shall deem just and proper.
V.

Date:

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DEMAND FOR JURY TRIAL

Plaintiff demands a trial by jury as to all issues so triable.

06/29/10

Respectfully submitted:

fs/Theodore E. Lorenz (TELS 114)
CARY L. FLITTER
THEODORE E. LORENZ
ANDREW M. MILZ
Attorneys for Plaintiff

LUNDY, FLITTER, BELDECOS &
BERGER, P.C.

450 N, Narberth Avenuc

Narberth, PA 19072

(610) 822-078 |
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EXHIBIT “A”
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fanceéOne

Receivables Management, Inc.

6565 KIMBALL DRIVE SUITE 200
GIG HARBOR WA 98335

     

Name : FAINA MUNITS

Telephone : 1-866-897-5309
March 18, 2010

Account Number 3a PIN : XP

Client Reference Number : See the reverse side of this
letter or attached detail page

Client: See the reverse side of this letter or attached detail
page

Dear Sir or Madam:
Our investigator will be handed your file on 03-25-10.
The asset investigation is to determine your employment, means of support, and other assets. Ignoring our request

for payment indicates that we must enforce collection. To avoid the additional costs of collection efforts, pay this account now
or make arrangements with our office.

Your account representative is: TOBIAS PENROSE (253}620-2308

For your convenience you can now make your debit card or credit card payment towards your AllianceOne account online at: ;
htto-v/Awww.payaoi.com or by calling our 24-hour aulomated phone system at ihe number above. i

its communication is from a debt collector. This is an attempt to collect a debt, and any information obtained will be used for
at purpose.

A$5,00 FEE WILL BE CHARGED FOR EACH CREDIT OR DEBIT CARD PAYMENT.

 

       
   
 

  
 

ACCOUNT INFORMATION
. Post Assigndd Interest |

    

   
    

    
 

   

   

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LIVONIA MI 48151-6267 Ll i J-L EET J-_LET-f Tt tT

 

RETURN SERVICE REQUESTED

 

[Payment Amt: fg CW Bed
Card Holder Name.

Signature of Gard Holder

22]f exp. Date: |

   

 

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Account Number -

 

FAINA MUNITS
225 HAMILTON 8ST
CHALFONT PA 18914-2965

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ALLIANCEONE RECEIVABLES MANAGEMENT INC.
FO BOX 2449 ;
GIG HARBOR WA 98335-2449

WikssbeodecedDacalbecbadssdschedsstuDaabbadeadietlhistotil :

2 Please send all Pon and make check
or money order payable to the above address:

 

Daytime Phone #

Evening Phone #

 
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r .
The JS 44 civil cover sh 2 information contained herein neither replace nor supplement ihe filing and service of pleadings or other papers as uired by law, except as protic
yy local mules of court. Tis . approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initint
he civil docket sheet. (S¥E UCTIONS ON THE REVERSE OF THE FORM.) :

{. (a) PLAINTIF A MUNITS DEFENDANT ALLIANCEONE RECEIVABLES

MANAGEMENT, INC. 1 0 3 1 8 4

County of Residence of First Listed Defendant ___
(IN U.S. PLAINTIFF CASES ONLY}
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE :
ILAND INVOLVED.

 
   

    
 

faintitf Bucks
. PLAINTIFF CAQ

(b} County of Residence of First Listed

(EXCEPT IN U 5)

(e} Auiorney’s (Firm Name. Address, and Telephone Number) Cary L. Plitter, Esq. and Attorneys (IF Kaown)
‘Theodore E. Lorenz. Esq., Lundy, Flitter, Beklecos & Berger, PC. 450 N, Narberth Avenue,
Narberth. PA 19072. (610) 822-0781

 

 

il. BASIS OF JURISDICTION (Place an°X" in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES Pace an °X” in One Box for Plaintil?
po (For Diversity Cuses Only) and One Box for Defendant)

Ol U.S. Government \ Federal Question PTF DEF PTF DEF

 

 

 

 

 

 

 

 

 

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Defendant tladicate Citizenship of Partics in ltein HT} of Business Ln Another Slate
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Foreign Country
IV. NATURE OF SUIT {Place an“X” in Gne Box Only
CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
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2) 186 Franchise Injury & Disclosure Act LJ 8635 RS! (405009) LJ 891 Agriculmural Acts
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J 220 Foreclosure [EG 442 Einployment Sentence (741 Empl. Ret. Ine. or Defendant) OO 894 Energy Allocation Act
7) 230 Rent Lease & Ejectment |] 443 Mousing: Habeas Corpes: Security Act LJ 871 IRS Third Party (C1 895 Freedom of Information
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Proceeding State Court Appellate Court Reopened (specily] Litigation Judgment

 
  

Cite the U.S. Civil Statute under which you are filing (Do net cite jurisdictional statutes unless diversity):
VL CALSE OF ACTION ISUS.C. § 1692 / / /
Brief description of cause: Fair Debt Collection Pructices Act

 

VI. REQUESTED IN (1 CHECK IF THIS IS A CLASS ACTION DEMAND §$ CHECK YES only 7f
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND

ctyanded in complaint

    

VEIL RELATED CASEGS)
IF ANY (See instructions): JUDGE DOCKET NUMBER

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FOR THE EASTERN OF PENNSYLYANLA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of

assignment to appro ndar. 1 0 3 1 8 4

Address of Plaintiff: 725 Hamilton Street, Chalfont, PA 18914-2965
Address of Defendants: 6565 Kimball Drive, Suite 200, Gig Harbor, WA 98335
Place of Accident, Incident or Transaction: Chalfont, PA 18914-2965

(fUise Reverse Side Mor Additional Space) _
Does dis civil action involve a nongovernmental corporate parly with any parent corporation and any publicly held corporation owning pa of its stock?
lo

 

 

(Atach tvo copies of the Disclosure Statement Form in accordance with Fed. R-Civ.P. 7.1 {a} Yes

 

Does this case involve multidistnict litigation possibilities? Yes LJ
RELATED CASE, IF ANY:

Case Number: __ Judge ; Date Terminated:
Civil cases are deemed related when yes is answered 10 any of the [ollowing quest:cas:

L. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?

yes OO No O
2. Does this case involve ihe same issue of fact or grow out of the same transaclion as a prior suit pending or within one year previously terminated
action in this court? Yes] No OF

3. Does this case involve the validity or infringement of a patent already in suit or any eurlice numbered case pending or within one year previously

terminated action in this court? Yo OJ NoO

 

CIVIL: (Place BJ in ONE CATEGORY ONLY)

A. Federat Question Cases: 8. Diversity furisdiction Cases:

1. FJ Indemnity Contnict, Marine Contract, and All Other Contmets 1. (1 Insurance Contract and Other Contracts
2. {.] FELA 2.00 Airplane Personal Injury

3. LJ Jones Act-Porsonal Injury 3.00 Assault, Defamation

4. 2 Antitrest 4. [] Marine Personal Injury

5. (2 Patent 5.07 Motor Velicle Personal Injury

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7. 0 Crval Rights 7.0) Products Ciabilily

8. [OJ Habeas Comus 8.) Produets | iability (Asbestos)

9. 0 Securities Actis} Cases 9] All other Diversity Cases

10. [J Social Security Review Cases (Please specify)

Il, All other Federal Question Cases
(Please specify) Fair Debt Collection Practices Act, 15 ULS.C. $ 1692
ARBITRATION CERTIFICATION

(Check appropriate Category)
I __, counsel of record do hereby certify:

Oo Pursuant to Loca! Civil Rule 53.2, Section 3(c)(2). that to the best of my knowledge and belief, the darmages recoverable in this civil
action case exceed the sum of $150,000.00 exclusive of interest and costs:

L] Relief other than monetary damages is sought
DATE:

Attomey-at-Law - Attorney LD.

NOTE: A trial de novo will be a trial by jury only if there has been compliance with I.R.C.P. 38.

L certify that, to my knowledue, the within case is not related to any case now pending or within one year previously terminated action in this court except
as noted above,

pate: G2 /2 of fé

CW oto (408)

bE A7YS
Attorney LD. JUN 3 0 7010

 

 
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APPENDIX I

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

FAINA MUNITS : CIVIL ACTION

10 Bis

Vv.
NO.
ALLIANCEONE RECEIVABLES MANAGEMENT, INC.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a case Management Track Designation Form in all civil cases al the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a case management track designation form specifying the track to
which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus — Cases brought under 28 U.S.C. §2241 through §2255. ( )
{b) Social Security — Cases requesting review of a decision of the Secretary of Health

and Human Services denying plaintiff Social Secunty Benefits ( }
fc} Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( }
id) Asbestos — Cases involving claims for personal injury or property damage from

exposure to asbestos. { }
(e) Special Management — Cases that do not fall into tracks (a) through (d) that are

commonly referred to as complex and that need special or intense management
by the court. (See reverse side of this form for a detailed explanation of special

 

 

management cases) ( )
() Standard ee - “L that do not fall into any one of the other tracks. ( )
bp / et / fb! OY oo Theodore E. Lorenz
Date a Law Attorney for Plaintiff
610-822-0781 _ 610-667-0552 oe. Jorenz@ifbb.com
Telephone Fax Number E-Mail Address
(Crv600) LO2

JeX 39 200
